     Case: 3:18-cv-00016-MPM-RP Doc #: 33 Filed: 07/13/18 1 of 2 PageID #: 110



                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              OXFORD DIVISION


SHAWANDA P. MAYS,                                                               PLAINTIFF


   VERSUS                                      CIVIL ACTION NO. :_3:18-cv-016-MPM-RP

WAL-MART STORES EAST, LP
d/b/a WALMART,                                                                 DEFENDANT.


                         NOTICE OF SERVICE OF SUBPEONAS


       PLEASE TAKE NOTICE that Plaintiff has this day served the following:

       1. Subpoena to Leigh K. Van Duren, MD to Produce Documents

       A true and correct copy of this Notice has been served upon the Defendants. The original
pleading is being retained in the possession of counsel for the Plaintiff.


       THIS the 13th day of July, 2018.

                                                   Respectfully submitted,
                                                   Shawanda P. Mays, PLAINTIFF

                                                   BY: /s/ Kristy L. Bennett
                                                   Kristy L. Bennett BPR #99525
                                                   Tressa V. Johnson BPR #104892
                                                   JOHNSON AND BENNETT, PLLC
                                                   1331 Union Avenue, Suite 1226
                                                   Memphis, TN 38104
                                                   (901) 402-6515 (direct)
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                                                   tressa@myjbfirm.com
                                                   kristy@myjbfirm.com
     Case: 3:18-cv-00016-MPM-RP Doc #: 33 Filed: 07/13/18 2 of 2 PageID #: 111



                                CERTIFICATE OF SERVICE

       I, Tressa V. Johnson, one of the attorneys for the Plaintiff, do hereby certify that I have

this day served via ECF filing or by United States mail, postage prepaid, a true and correct copy

of the above and foregoing document to the following counsel of record:

      John M. Russell, Esq.
      Lauren A. Wong, Esq.
      Russell & Oliver, PLC
      5178 Wheelis Drive
      Memphis, TN 38117



       THIS the 13th day of July, 2018.




                                                             /s/ Kristy L. Bennett
                                                             Kristy L. Bennett
